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  June 22, 2020

  VIA ECF

  Hon. Leda Dunn Wettre, U.S.M.J.
  United States District Court for the District of New Jersey
  Martin Luther King Building & U.S. Courthouse
  50 Walnut Street
  Newark, NJ 07101


         Re:      Roofers’ Pension Fund v. Papa, et al.,
                  Civil Action No. 16-2805 (MCA) (LDW)

  Dear Judge Wettre:

  We write on behalf of Lead Plaintiff and Class Representative Perrigo Institutional Investor Group
  (together with class members, “Plaintiffs”).

  At the status conference held via Zoom on June 18, 2020, the Court directed the parties to discuss
  a schedule for filing letter briefs addressing the disputed Rule 30(b)(6) deposition. After
  conferring, the parties propose that Perrigo’s letter brief be due June 26, 2020 and Plaintiffs’
  response be due July 3, 2020.

  If this request meets with the Court’s approval, we would appreciate if Your Honor would execute
  the “So Ordered” provision below and have this letter entered on the docket by the Clerk of the
  Court.

  Respectfully submitted,
  /s/ Michael B. Himmel
  Michael B. Himmel

  cc: All Counsel of Record (Via ECF)
                                                                SO ORDERED: 6/23/2020



                                                                Hon. Leda Dunn Wettre, U.S.M.J.
